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       EXHIBIT C
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                                                                           Page 1
 1            CONFIDENTIAL - CHARLES CREMENS
 2            UNITED STATES BANKRUPTCY COURT
 3             FOR THE DISTRICT OF DELAWARE
 4   --------------------------------X
     In Re:
 5

     ENERGY FUTURE HOLDINGS
 6   CORPORATION, et al.,
 7                          Debtors.
 8   Chapter 11
     Case No. 14-0979
 9   Jointly Administered
     --------------------------------X
10

11

12         *** C O N F I D E N T I A L ***
13

14                VIDEOTAPED DEPOSITION
15                              OF
16                    CHARLES CREMENS
17              Wednesday, October 8, 2014
18                 Seven Times Square
19                   New York, New York
20

21

22   Reported by:
     AYLETTE GONZALEZ, RPR, CLR, CCR
23   JOB NO. 85457
24

25



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                                           Page 38                                               Page 39
 1         CONFIDENTIAL - CHARLES CREMENS              1         CONFIDENTIAL - CHARLES CREMENS
 2       Q. You understand that the debtors are        2   is putting forth bidding procedures in a -- in
 3   seeking to preclude creditor involvement in       3   a process to maximize that value. I don't
 4   the selection of a stalking horse bid,            4   think it is with the intention of exclusion,
 5   correct?                                          5   but rather to maximize value.
 6           MS. O'CONNOR: Object to form.             6       Q. Do you understand whether the
 7       A. Let me make sure I understand your         7   procedures the debtors are seeking approval of
 8   question. You want to try it again or do you      8   are typical in bankruptcy cases?
 9   want me to --                                     9           MS. O'CONNOR: Object to form.
10       Q. The question that I asked was: You        10       A. I -- you know, I -- I would say
11   understand that the debtors are seeking to       11   based upon my experience this is a very
12   preclude creditor involvement in the selection   12   competitive robust process. You're talking
13   of a stalking horse bid in this case, correct?   13   about, again, a process that -- in the bidding
14           MS. O'CONNOR: Same objection.            14   procedures that are put forth here have a
15       A. My view on that is that it isn't          15   fairly long stalking horse process and then an
16   that they're seeking to preclude the             16   additional open book bidding process before
17   creditors, but rather that there is a            17   you even get to the auction.
18   responsibility for the debtor to make a          18           That is I think a relatively
19   decision hereto in the process.                  19   unique, very competitive process from my
20           So in a traditional bankruptcy           20   experience. So I would say it's a more
21   situation, like the Conseco and others, that,    21   fulsome, more robust, competitive process than
22   you know, usually there's a stalking horse       22   what I've seen in the past.
23   that is put forth and then there are people --   23       Q. Are you aware of any case in which
24   then there are people that bid against that.     24   a debtor sought approval of procedures to
25           In this -- in this case the debtor       25   select a stalking horse bidder?
                                           Page 40                                               Page 41
 1        CONFIDENTIAL - CHARLES CREMENS               1         CONFIDENTIAL - CHARLES CREMENS
 2       A. A debtor sought approval; could you        2       Q. So now I want to focus your
 3   repeat for me?                                    3   attention on the time period between July 24th
 4           MR. DEVORE: Could you read back           4   or 25th when the debtors determined to
 5       the question, please.                         5   terminate the RSA and today.
 6           (Whereupon, the referred to               6           During that time period of
 7       question was read back by the                 7   July 24th or 25th and today, has the EFIH
 8       Reporter.)                                    8   board ever met separately from the EFH board?
 9       A. No.                                        9       A. I don't recall that. No, I don't
10       Q. Now you testified earlier to the          10   believe that that did occur.
11   termination of the restructuring support         11       Q. The best of your recollection is
12   agreement in July. Do you recall that?           12   that all of the board meetings since the
13       A. I do.                                     13   termination --
14       Q. Do you recall that the -- do you          14       A. Oh, actually, well, you know, I --
15   recall when the debtors determined to            15   I want to re- -- correct that one. I know
16   terminate the restructuring support agreement?   16   that there was -- there was a separate meeting
17       A. Well, there was a lot of                  17   as it related to the -- the vote I believe on
18   discussion, I think we were meeting, certainly   18   the EFH termination, individual boards did
19   weekly at least, in July, and I think the        19   meet. So I believe when we were actually in
20   ultimate determination was the last week in      20   Dallas there was separate board meetings.
21   July, something like July 24th or -5th, it was   21       Q. And there were separate board
22   the quarterly board meeting. And then I          22   meetings with respect to the termination of
23   think -- the reason why I said July 31st is I    23   the RSA?
24   think it was five days after that, that it       24       A. I believe that was the case.
25   actually became effective.                       25       Q. Okay. So I want to focus on the
                                                                            11 (Pages 38 to 41)
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                                           Page 70                                               Page 71
 1         CONFIDENTIAL - CHARLES CREMENS              1        CONFIDENTIAL - CHARLES CREMENS
 2   80 percent of Oncor Holdings.                     2   possibility of it at EFIH.
 3       Q. It's your understanding that EFIH          3       Q. You understand that the tax sharing
 4   owns an 80 percent interest in Oncor Holdings?    4   claim would be an unsecured claim against
 5       A. Yes, that's my...                          5   EFIH?
 6       Q. Mr. Cremens, as the independent            6       A. I am generally aware that there's a
 7   director at EFH, why do you consider the tax      7   difference in security issues, yeah.
 8   liability -- the deconsolidation tax liability    8       Q. Are you aware that creditors have
 9   important?                                        9   argued that claims under the TSA into the EFIH
10       A. I'm an independent director at            10   box would not be permitted under the TSA?
11   EFIH, and tax liability is important because     11       A. You'll have to repeat that one
12   we want to make sure that we can have a          12   again, there's too many acronyms and you lost
13   confirmable plan and -- for everyone, and we     13   me.
14   don't want to end up with a -- creating a        14       Q. Are you aware that creditors have
15   $6 billion liability that somehow doesn't        15   argued that the tax sharing agreement does not
16   allow for a confirmable plan for any of the      16   allocate tax liability to EFIH based on the
17   debtors.                                         17   capital gains generated by EFIH?
18       Q. What is your understanding of the         18       A. I'm not aware of that.
19   potential liability of EFIH in connection with   19       Q. Would you consider it important to
20   a deconsolidation tax?                           20   know the likelihood of claims being asserted
21       A. My understanding is that there's a        21   against EFIH under the competitive tax sharing
22   possibility that the tax ends up at EFH, and     22   agreement?
23   because of the way the tax sharing agreement     23          MS. O'CONNOR: Object to form.
24   has worked, that there is the possibility that   24       A. I'd like to know of any claims that
25   the tax then ends up also at EFIH or the         25   could be asserted against EFIH.
                                           Page 72                                               Page 73
 1         CONFIDENTIAL - CHARLES CREMENS              1         CONFIDENTIAL - CHARLES CREMENS
 2       Q. Have you asked anyone about the            2   the likelihood of success of state law
 3   likelihood of claims being asserted against       3   theories of liability to make EFIH liable for
 4   EFIH with respect to a deconsolidation tax?       4   any stranded tax?
 5       A. No.                                        5        A. No.
 6       Q. Do you have any understanding              6           MS. O'CONNOR: Object to form.
 7   concerning potential challenges that the IRS      7        Q. Mr. Cremens, has EFIH's board
 8   could bring if there's a stranded tax             8   received any advice concerning the likelihood
 9   liability at EFH?                                 9   of EFIH becoming liable for deconsolidation
10       A. If there are challenges that the          10   tax?
11   IRS could bring, I'd like to understand them,    11        A. Yes, there was a presentation I
12   yes.                                             12   think made a long time ago on that one. At
13       Q. Have you asked anyone about the           13   least -- let me put it differently. There was
14   likelihood of the IRS being able to challenge    14   a -- I believe a discussion, anyway, around
15   a transaction that leaves stranded tax           15   it. But it goes back to, you know, early in
16   liability at EFH?                                16   the -- early in my involvement. So I'm aware
17       A. No.                                       17   of it and that's how I got to the comment
18       Q. Do you have any understanding of          18   about the tax liability.
19   the likelihood of changes in the law or          19        Q. Do you recall approximately when
20   treasury regulations that would impact the       20   that presentation was?
21   step up in basis in a taxable transaction?       21        A. No. As I said, it was a discussion
22       A. No.                                       22   at the very least.
23       Q. Have you asked anyone?                    23        Q. Do you recall who was involved in
24       A. No.                                       24   that discussion?
25       Q. Do you have any understanding of          25        A. No.
                                                                            19 (Pages 70 to 73)
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                                           Page 74                                               Page 75
 1        CONFIDENTIAL - CHARLES CREMENS               1         CONFIDENTIAL - CHARLES CREMENS
 2       Q. Do you recall if that discussion           2   with the questioning on it from a fiduciary
 3   was before or after the bankruptcy case was       3   standpoint is to maximize the value of the
 4   filed?                                            4   estate and so to the extent that where the
 5       A. I don't.                                   5   stock is at is at EFH. And I believe from a
 6       Q. Mr. Cremens, what is your                  6   tax benefit basis, I think this is the reason
 7   understanding of the reasoning for doing a        7   why they believe the opportunity is to sell at
 8   transaction at the EFH equity level instead of    8   EFH will allow for maximizing --
 9   the EFIH level for a sale of the Oncor assets?    9       Q. Mr. Cremens, are you aware that if
10          MS. O'CONNOR: Object to form.             10   there is a transaction done at EFIH that was
11          Go ahead.                                 11   taxable that that would result in a step up in
12       A. I can't remember specifically.            12   basis for the purchaser?
13       Q. Sitting here today, what is your          13       A. I am not aware of the specifics.
14   understanding of the rational for doing a        14       Q. Generally speaking, if a purchaser
15   transaction at EFH instead of at the EFIH        15   achieves a step up in basis and is able to
16   level for the Oncor assets, if you have one?     16   realize the benefits of a basis step up, are
17          MS. O'CONNOR: Object to form.             17   you aware whether a purchaser will, generally
18       Same question.                               18   speaking, pay more for an asset than if it did
19       A. For specifically the Oncor assets,        19   not receive a step up?
20   you know, there could be and as the bidding      20       A. I don't know. There certainly is a
21   procedures even allow, someone could             21   possibility of a tax associated with it.
22   prospectively make an offer. They would have     22       Q. Did anyone --
23   to be looked at if only parts of EFH were put    23       A. From the sellers' standpoint.
24   forth as a bid so it would be looked at.         24       Q. Has anyone advised EFIH's board
25   Obviously, our objective, which you started      25   with regard to the likelihood of a purchaser
                                           Page 76                                               Page 77
 1         CONFIDENTIAL - CHARLES CREMENS              1         CONFIDENTIAL - CHARLES CREMENS
 2   paying a higher price in a taxable                2   referring to?
 3   transaction?                                      3       A. I'm referring to the debtors, EFH
 4       A. No, but I don't think that's a             4   and EFIH or depends on who is putting forth a
 5   limitation. So if somebody wanted to come in      5   bid for what. If somebody does put forth a
 6   and pay a -- take a run at any of the assets,     6   bid for EFIH alone, that will be looked at in
 7   we'll look at it.                                 7   terms of what value does it bring to the
 8       Q. Has Evercore provided the board            8   overall estate and look at that.
 9   with any information concerning any increase      9       Q. Would it surprise you to learn --
10   in price that a purchaser would pay if it was    10   start with this. Do you know who Mr. Hiltz
11   able to get a step up in basis?                  11   is?
12           MS. O'CONNOR: Object to form.            12       A. Yes, I do.
13       A. I think you're looking at it from         13       Q. And who is Mr. Hiltz?
14   my perspective as a director. I'm looking at     14       A. He works for Evercore.
15   what the value is to the seller, not as it       15       Q. And what is Mr. Hiltz's role?
16   relates to the value to the buyer. To the        16       A. His role is one of the senior
17   extent that there is a tax as a seller that is   17   people involved in the M&A side at Evercore.
18   substantial, that would to be a deduction from   18       Q. Would it surprise you to learn that
19   maximizing our value by the amount of the tax.   19   Mr. Hiltz testified on Monday that a
20           So looking at it from my                 20   prospective purchaser would pay $2 billion
21   standpoint, I'm less interested in what the      21   more for the step up in basis that would be
22   buyer pays. I'm more interested in what the      22   achieved in a taxable transaction?
23   value is that exists from the sellers'           23           MS. O'CONNOR: Object to form.
24   standpoint.                                      24       Q. Would that surprise you?
25       Q. And who is the seller that you're         25           MS. O'CONNOR: Same objection.
                                                                            20 (Pages 74 to 77)
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                                           Page 78                                               Page 79
 1         CONFIDENTIAL - CHARLES CREMENS              1         CONFIDENTIAL - CHARLES CREMENS
 2       A. I don't know. I haven't done the           2   certainly up at the EFH level anyway.
 3   analysis and --                                   3           So the overall value of the -- of
 4       Q. In engaging in a marketing process         4   the situation here, from my standpoint, is
 5   would you want to know whether the purchaser      5   something that we're trying to maximize.
 6   would pay more in a taxable transaction in        6           And, again, to connect the dots, we
 7   determining how to market the assets?             7   want to make sure that we have a confirmable
 8       A. I would be more inclined -- I am           8   plan at the end of the day. So we're
 9   more interested in knowing what the value is      9   interested in all debtors. I am interested in
10   to me as a seller than I am the value to the     10   all debtors.
11   buyer. So on a net basis, what am I              11       Q. If I were to tell you that EFIH is
12   receiving.                                       12   not liable for the deconsolidation tax and
13       Q. So what I'm trying to figure out is       13   EFIH could receive $2 billion more in a
14   you keep talking about you as being as a         14   taxable transaction, what would you want to
15   seller and I'm trying to figure out what hat     15   know in order to evaluate that transaction?
16   you're wearing as a seller. Are you --           16           MS. O'CONNOR: Object to form.
17       A. I've tried several times to tell          17       A. I don't know. That's too
18   you, Andrew. I'm wearing the hat as an EFIH      18   hypothetical for me. I don't know. I haven't
19   independent director and am trying to maximize   19   -- again, at the end of the day, I want to
20   the overall value of the estate.                 20   know how much value is being provided for the
21           At the same time, to the extent          21   estate. What somebody else, gets I'm not
22   that we have a fiduciary responsibility and in   22   interested.
23   this case it looks like the opportunity exists   23       Q. Mr. Hiltz -- I'm sorry;
24   that we're going to exceed the creditor levels   24   Mr. Cremens, are you aware that the claims
25   at EFIH and we should be looking at --           25   pool at EFIH has not been determined?
                                           Page 80                                               Page 81
 1         CONFIDENTIAL - CHARLES CREMENS              1        CONFIDENTIAL - CHARLES CREMENS
 2        A. The claims pool. Specifically             2       A. I think that's in litigation.
 3   define that term for me.                          3       Q. So that's a disputed claim?
 4        Q. Mr. Cremens, you previously               4       A. Disputed claim.
 5   testified that it is your understanding that      5       Q. Are you aware that the T-side
 6   it looks like all of the creditors at EFIH        6   creditors have asserted claims against EFIH or
 7   will be paid in full. Is that a fair summary      7   threatened to assert claims against EFIH?
 8   of your testimony?                                8       A. I'm unaware of that.
 9        A. Yes.                                      9       Q. Would you want to know what the
10        Q. With respect to the creditors that       10   world of claims will be against EFIH in
11   EFIH --                                          11   deciding whether or not to pursue a taxable
12        A. Yes.                                     12   transaction?
13        Q. -- do you know whether that pool of      13       A. I think that's -- well, to pursue a
14   creditors is determined today?                   14   taxable transaction, I'm not -- I think,
15        A. There are -- I was talking about         15   again, we're trying to pursue a transaction
16   the overall principal owed on the notes and      16   that will maximize the value to the estate
17   so, no, there are still some contingent          17   such that we can handle whatever claims are
18   aspects that are outstanding.                    18   ultimately codified.
19        Q. My clients assert that they're           19       Q. So what I want to know is claims
20   entitled to what's called a make whole           20   come in against EFIH that are so large that
21   premium.                                         21   there's no possibility of any value going up
22        A. I'm aware of it.                         22   to EFIH. Should you consider a taxable
23        Q. Okay. Do you contemplate paying          23   transaction in your view?
24   the make whole premium in full?                  24           MS. O'CONNOR: Object to form.
25           MS. O'CONNOR: Object to form.            25       A. I don't know. Very hypothetical.
                                                                            21 (Pages 78 to 81)
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                                          Page 82                                               Page 83
 1        CONFIDENTIAL - CHARLES CREMENS              1         CONFIDENTIAL - CHARLES CREMENS
 2   I know of no claims that would occur at this     2           MS. O'CONNOR: Object to form.
 3   point in time.                                   3       A. Well, we were on a specific --
 4       Q. Have you had any discussion with          4   there had been a substantial amount of
 5   Mr. Sawyer outside of the context of board       5   discussion about moving to a process of -- on
 6   meetings?                                        6   the bidding side, yes. So there had been a
 7       A. No. I know Hugh Sawyer, so over           7   lot of discussion about it. Evercore and
 8   the years I've had discussions with him.         8   Kirkland and management making pitches to the
 9       Q. Have you had discussions with             9   board around whether to have an extensive
10   Mr. Sawyer concerning the bankruptcy case       10   stalking horse period or shorter stalking
11   since it was filed outside of the context of    11   horse period and so on. So there was a lot of
12   board meetings?                                 12   discussion around it.
13       A. I assume I've had discussions or         13       Q. Was the board informed about any
14   two, but not anything recently. Not in 90       14   specifics of the bidding procedures other than
15   plus days.                                      15   a timeline for the process?
16           You're killing me here, Andrew.         16           MS. O'CONNOR: Object to form.
17   Come on, baby, wrap it up.                      17       A. Well, there were -- there's been a
18       Q. It's no fun being in this chair          18   lot of discussion because we had -- like we
19   either.                                         19   had the NextEra bid, which we had contemplated
20           Did you review the Bidding              20   as a possibility as a stalking horse so there
21   Procedures Motion before it was filed?          21   had been reviews of criteria that could be
22       A. No.                                      22   potentially used that ended up in the -- in
23       Q. Was the board informed of the            23   the bidding procedures. So there has been --
24   contents of the Bidding Procedures Motion       24   there was discussion beyond timeline, yes.
25   before it was filed?                            25       Q. And what's your recollection of the
                                          Page 84                                               Page 85
 1         CONFIDENTIAL - CHARLES CREMENS             1         CONFIDENTIAL - CHARLES CREMENS
 2   specifics of the bidding procedures that were    2   has consulted with in connection with a
 3   discussed at the board meeting?                  3   transaction involving, you know, the matters
 4        A. I can't remember all of them, but I      4   we have been discussing?
 5   know as an example there would be need for       5       A. Depends on who you consider to be
 6   reciprocal due diligence if a stalk was to be    6   EFIH. If it's management, management talks to
 7   used as a currency. That there would be no       7   a lot of different advisors as it relates to
 8   financing contingency. There would be a need     8   this specific process and, you know, we are,
 9   to make sure that there would be financial       9   you know, we're using Evercore to affect it.
10   capability. There would be a possibility of a   10       Q. Are you aware of whether Bank of
11   topping fee requirement.                        11   America, Merrill Lynch has been involved in
12           So there was a lot of discussion        12   this process at all?
13   back and forth about specifics, but it was a    13       A. I think there was discussions with
14   general discussion.                             14   them. My understanding is they have a pretty
15        Q. Did the board vote to approve the       15   good utility group and there were discussions
16   filing of the procedures?                       16   around their thoughts on various stuff, but I
17        A. The specific bidding procedures?        17   don't think we engaged Bank of America at any
18        Q. Correct.                                18   time for this assignment.
19        A. No.                                     19       Q. Do you know why Bank of America,
20        Q. Do you know why not?                    20   Merrill Lynch was contacted in connection with
21           MS. O'CONNOR: Object to form.           21   the transaction?
22        A. I don't think it was necessary. I       22           MS. O'CONNOR: Object to form.
23   don't think it was a required need.             23       A. Again, my understanding is that
24        Q. Changing topics for a second, is        24   management has relationships with a number of
25   Evercore the only financial advisor that EFIH   25   bankers.
                                                                           22 (Pages 82 to 85)
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                                           Page 94                                               Page 95
 1        CONFIDENTIAL - CHARLES CREMENS               1         CONFIDENTIAL - CHARLES CREMENS
 2       Q. Do you have any understanding of a         2       A. There hasn't been a conflict that I
 3   process for resolving any conflicts that could    3   know that's come up where there's been a need
 4   arise in connection with selection of a           4   for that discussion, no.
 5   stalking horse bidder?                            5       Q. What I'm talking about is potential
 6       A. I don't know what conflicts could          6   conflicts that might arise in the future.
 7   arise, so I don't -- I mean, we've already        7          Has there been discussion about
 8   talked about my view of dealing with potential    8   procedures that could be set up to address
 9   conflicts.                                        9   those conflicts?
10       Q. Sitting here today, are there any         10       A. No. Other than the document you
11   potential conflicts you can identify with        11   showed me earlier, no.
12   respect to the proposed transaction that is to   12       Q. I'm sorry; just for the clarity of
13   be set forth -- that is to come forth pursuant   13   the record, what document are you referring
14   to the bidding procedures?                       14   to?
15       A. No.                                       15       A. The document you put forth with the
16       Q. Mr. Cremens, has any board member,        16   idea that that states that there's an
17   to your knowledge, asked any questions           17   opportunity to pursue independent counsel.
18   concerning the process to address conflicts      18       Q. Going back to the stalking horse
19   with respect to those transactions?              19   bidder, the procedures contemplate that the
20       A. No.                                       20   debtors will be selecting a stalking horse
21       Q. Was a process for resolving               21   bidder, correct?
22   conflicts or disagreement among the different    22          Let me ask the question again.
23   debtor estates ever discussed at board           23          The bidding procedures contemplate
24   meetings?                                        24   that the debtors will be selecting a stalking
25           MS. O'CONNOR: Object to form.            25   horse bidder, correct?
                                           Page 96                                               Page 97
 1        CONFIDENTIAL - CHARLES CREMENS               1        CONFIDENTIAL - CHARLES CREMENS
 2       A. Correct.                                   2       Q. What is your understand, if any, of
 3       Q. And the stalking horse bid is              3   which debtor would pay the break up fee, EFH,
 4   contemplated to have a break up fee?              4   EFIH, TCH?
 5       A. It's possible.                             5           MS. O'CONNOR: Object to form.
 6       Q. Would you expect that a stalking           6       A. I don't know exactly how that will
 7   horse bidder that commits itself for 12 months    7   play out. I want to bring -- there are
 8   would require a break up fee?                     8   reasons why we would be -- why they would be
 9       A. I don't know what the competitive          9   paying a break up fee and, believably, it's
10   landscape will drive.                            10   because we've chosen a different course that's
11       Q. Do you have any understanding of          11   more valuable.
12   the expected amount of a break up fee?           12       Q. Is it your understanding there
13       A. No. I know what marketplace 2 to          13   would only be a break up fee if the debtors
14   3 percent kind of break up fee. But in this      14   choose, in your words, a different course?
15   situation, we got a pretty robust process, so    15       A. Yes. That's what I'm saying. So
16   I don't know how or what it -- what it will      16   believably, there's a reason why we're doing
17   drive.                                           17   it and so it's worth paying that break up fee.
18       Q. Mr. Hiltz testified that he would         18       Q. Is it your understanding that the
19   expect 150 million to 200 million break fee to   19   process that has been put forward, the course
20   be required. Is that consistent with your        20   that has been put forward here in the Bidding
21   understanding?                                   21   Procedures Motion, would not result in a
22       A. I think that was a number --              22   commitment to pay a break fee?
23   numbers in that range were tossed about in the   23           MS. O'CONNOR: Object to form.
24   past when we were talking about stalking         24       A. No, I'm not saying that.
25   horses.                                          25       Q. So we might be talking past each
                                                                            25 (Pages 94 to 97)
                          TSG Reporting - Worldwide             877-702-9580
